                                                           IT IS ORDERED

                                                           Date Entered on Docket: January 2, 2020




                                                           ________________________________
                                                           The Honorable Robert H Jacobvitz
                                                           United States Bankruptcy Judge
______________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

  In Re:                                              Case No. 19-12241

  Edward Joseph New and Tanith Morgan New,            Chapter 7
  aka, Tanith Morgan Applegate

     Debtor(s)

    DEFAULT ORDER GRANTING MOTION FOR RELIEF FROM STAY AND TO
  ABANDON PROPERTY LOCATED AT 113 SIMONDS ROAD, AZTEC, NM 87410-1830

           This matter came before the Court on the Motion for Relief from Automatic Stay and to

  Abandon Property filed on November 26, 2019, Docket No. 11 (the "Motion") by Specialized

  Loan Servicing, LLC, as servicer for the Bank of New York Mellon fka The Bank of New York,

  as Trustee for the Certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series

  2007-10 its successors and/or assigns ("Movant"). The Court, having reviewed the record and

  the Motion, and being otherwise sufficiently informed, FINDS:

           1.     On November 26, 2019, Movant served the Motion and a notice of the Motion

  (the "Notice") on the case trustee, Edward Alexander Mazel ("Trustee"), and Debtor('s/s')

  counsel, Kemp S Lewis, by use of the Court's case management and electronic filing system for




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the transmission of notices, as authorized by Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, and on

Debtor(s) by United States first class mail, in accordance with Bankruptcy Rules 7004 and 9014.

       2.      The Motion relates to the property known as 113 Simonds Road, Aztec, NM

87410-1830 (the "Property") with a legal description:

       LOT 7, IN BLOCK 1, OF THE SIMONDS SUBDIVISION, IN THE CITY OF AZTEC,
       SAN JUAN COUNTY, NEW MEXICO, AS SHOWN ON THE PLAT OF SAID
       SUBDIVISION FILED FOR RECORD JULY 7, 1953

       3.      The Notice specified an objection deadline of twenty-one (21) days from the date

of service of the Notice, to which 3 days was added under Bankruptcy Rule 9006(f);

       4.      The Notice was sufficient in form and content;

       5.      The objection deadline expired on December 20, 2019;

       6.      As of December 27, 2019, neither Debtor(s) nor Trustee, nor any other party in

interest, filed an objection to the Motion;

       7.      The Motion is well taken and should be granted as provided herein; and

       8.      By submitting this Order to the Court for entry, the undersigned counsel for

Movant certifies under penalty of perjury that, on December27, 2019, Patricia Rychards of

Weinstein & Riley, P.S. searched the data banks of the Department of Defense Manpower Data

Center ("DMDC") and found that DMDC does not possess any information indicating that

Debtor(s) is/are currently on active military duty of the United States.

       IT IS THEREFORE ORDERED:

       1.      Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens against

the Property, of any lien priority, are hereby are granted relief from the automatic stay:

               a.      To enforce their rights in the Property, including foreclosure of liens and a

       foreclosure sale, under the terms of any prepetition notes, mortgages, security agreements




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       and/or other agreements to which Debtor(s) is/are a party, to the extent permitted by

       applicable non-bankruptcy law, such as by commencing or proceeding with appropriate

       action against Debtor(s) or the Property, or both, in any court of competent jurisdiction;

       and

                b.     To exercise any other right or remedy available to them under law or

       equity with respect to the Property.

       2.       Trustee is deemed to have abandoned the Property from the estate pursuant to 11

U.S.C. §554 as of the date of entry of this Order, and the Property therefore no longer is property

of the estate. As a result, Movant need not name Trustee as a defendant in any state court action

it may pursue to foreclose liens against the Property and need not notify Trustee of any sale of

the Property.

       3.       The automatic stay is not modified to permit any act to collect any deficiency or

other obligation as a personal liability of Debtor(s), although Debtor(s) can be named as a

defendant\defendants in litigation to obtain an in rem judgment or to repossess the Property in

accordance with applicable non-bankruptcy law.

       4.       This Order does not waive Movant's claim against the estate for any deficiency

owed by Debtor(s) after any foreclosure sale or other disposition of the Property. Movant may

file an amended proof of claim for this bankruptcy case within 30 days after a foreclosure sale of

the Property should it claim that Debtor(s) owe(s) any amount after the sale of the Property.

       5.       This Order shall continue in full force and effect if this case is dismissed or

converted to a case under another chapter of the Bankruptcy Code.

       6.       This order is effective and enforceable upon entry. The 14-day stay requirement

of Fed.R.Bankr.P. 4001(a)(3) is waived.




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       7.       Movant is further granted relief from the stay to engage in loan modification

discussions or negotiations or other settlement discussions with Debtor(s) and to enter into a loan

modification with Debtor(s).


                                  XXX END OF ORDER XXX


Submitted by:


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